Case 19-10725-KHK Doc 124-1 Filed 12/16/19 Entered 12/16/19 08:39:36   Desc
              Exhibit A - Asset Purchase Agreement Page 1 of 16




                               Exhibit A



                     Asset Purchase Agreement
Case 19-10725-KHK Doc 124-1 Filed 12/16/19 Entered 12/16/19 08:39:36   Desc
              Exhibit A - Asset Purchase Agreement Page 2 of 16
Case 19-10725-KHK Doc 124-1 Filed 12/16/19 Entered 12/16/19 08:39:36   Desc
              Exhibit A - Asset Purchase Agreement Page 3 of 16
Case 19-10725-KHK Doc 124-1 Filed 12/16/19 Entered 12/16/19 08:39:36   Desc
              Exhibit A - Asset Purchase Agreement Page 4 of 16
Case 19-10725-KHK Doc 124-1 Filed 12/16/19 Entered 12/16/19 08:39:36   Desc
              Exhibit A - Asset Purchase Agreement Page 5 of 16
Case 19-10725-KHK Doc 124-1 Filed 12/16/19 Entered 12/16/19 08:39:36   Desc
              Exhibit A - Asset Purchase Agreement Page 6 of 16
Case 19-10725-KHK Doc 124-1 Filed 12/16/19 Entered 12/16/19 08:39:36   Desc
              Exhibit A - Asset Purchase Agreement Page 7 of 16
Case 19-10725-KHK Doc 124-1 Filed 12/16/19 Entered 12/16/19 08:39:36   Desc
              Exhibit A - Asset Purchase Agreement Page 8 of 16
Case 19-10725-KHK Doc 124-1 Filed 12/16/19 Entered 12/16/19 08:39:36   Desc
              Exhibit A - Asset Purchase Agreement Page 9 of 16
Case 19-10725-KHK Doc 124-1 Filed 12/16/19 Entered 12/16/19 08:39:36   Desc
              Exhibit A - Asset Purchase Agreement Page 10 of 16
Case 19-10725-KHK Doc 124-1 Filed 12/16/19 Entered 12/16/19 08:39:36   Desc
              Exhibit A - Asset Purchase Agreement Page 11 of 16
Case 19-10725-KHK Doc 124-1 Filed 12/16/19 Entered 12/16/19 08:39:36   Desc
              Exhibit A - Asset Purchase Agreement Page 12 of 16
Case 19-10725-KHK Doc 124-1 Filed 12/16/19 Entered 12/16/19 08:39:36   Desc
              Exhibit A - Asset Purchase Agreement Page 13 of 16
Case 19-10725-KHK Doc 124-1 Filed 12/16/19 Entered 12/16/19 08:39:36   Desc
              Exhibit A - Asset Purchase Agreement Page 14 of 16
Case 19-10725-KHK Doc 124-1 Filed 12/16/19 Entered 12/16/19 08:39:36   Desc
              Exhibit A - Asset Purchase Agreement Page 15 of 16
Case 19-10725-KHK Doc 124-1 Filed 12/16/19 Entered 12/16/19 08:39:36   Desc
              Exhibit A - Asset Purchase Agreement Page 16 of 16
